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                                                                                2016 Jun-23 AM 11:20
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

ADTRAV CORPORATION,                 )
                                    )
        Plaintiff,                  )
                                    )
v.                                  ) CV 2-14-CV-0056-TMP-S
                                    )       OPPOSED
DULUTH TRAVEL, INC.,                )
                                    )
     Defendant and Plaintiff        )
     in Counterclaim.               )
__________________________________________________________________

       DULUTH TRAVEL INC.’S MOTION FOR LEAVE TO FILE
                FIRST AMENDED COUNTERCLAIM
__________________________________________________________________

      COMES NOW Defendant/Counterclaim Plaintiff, Duluth Travel, Inc.

(“Duluth”), and respectfully moves the Court to enter an order granting Duluth leave

to file its First Amended Counterclaim. In support of said motion, Duluth provides

the following:

      1.    Duluth’s original Answer and Counterclaim was filed with the Court

on February 24, 2014, and alleged claims for breach of the 2005 contract between

Duluth and Plaintiff Adtrav Corporation (“Adtrav”) (Count One); breach of the 2010

contract between the Parties (Count Two); and fraud (Count Three). The principal

gravamen of Duluth’s Counterclaim centered on Adtrav’s breaches of the Parties’

2005/2006 and 2010 Agreements and Adtrav’s failure to satisfy its fiduciary
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responsibilities to Duluth to account for all revenue generated by Duluth’s contract

with the Veterans Administration (“VA”) contract.

      2.     At the time of its initial filing, the information and evidence that Duluth

had in its possession supported the counterclaims, but over the course of discovery,

Duluth has discovered substantial additional evidence of misclassified,

underreported, and/or unreported revenues that Adtrav collected under both the

2005/2006 and the 2010 Agreements but never disclosed to Duluth. As the Court

has been advised, Adtrav was in complete control of collecting and reporting to

Duluth the revenues earned under Duluth’s contract with the VA.

      3.     The Parties in this action have engaged in extensive discovery. Adtrav

admitted early in this case, however, that it had either lost or destroyed much of the

accounting backup data used to support Adtrav’s reporting of revenues to Duluth,

despite the fact that it supposedly had a five-year document retention policy. (“We

tried to keep all accounting records for five years.” See Depo. of Adtrav’s former

controller and Vice President of Finance, James Kern, p. 37). As Duluth has

previously noted to the Court, Adtrav was required to maintain this information

under federal regulations. Further, because of obvious gaps in Adtrav’s productions,

Duluth was forced to file a Motion to Compel, which resulted in Adtrav producing

a multitude of additional information in late December, 2015. 




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      4.     Further, and in an attempt to obtain the information that Adtrav claims

it either lost or destroyed, Duluth was forced to issue numerous third-party

subpoenas (e.g., to the commission-collection companies, to the car-rental agencies,

to the various hotel chains, to the airlines, etc.) in order to attempt to create a proper

accounting of the VA-generated revenues. The efforts required of Duluth to

accomplish this accounting proved to be an arduous, complicated, and very

expensive undertaking for Duluth (and its expert).

      5.     Based on information supplied by the third parties and the information

that Adtrav finally produced to Duluth in December of 2015, Duluth discovered a

number of discrepancies in what Adtrav had reported to Duluth (e.g., some of the

commissions generated under the Duluth’s contract with the VA had been reported

by Adtrav as either non-commissionable or uncollected).

      6.     Until Duluth was able to obtain the third-party data and the information

that Adtrav finally produced in response to Duluth’s Motion to Compel, Duluth had

no way of knowing that evidence existed to support amendment of its pending

counterclaims.

      7.     Under Rule 15 of the Federal Rules of Civil Procedure, “a party may

amend its pleading only with the … the court’s leave[; however, the] court should

freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2).




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      8.     In Bartronics, Inc. v. Power-One, Inc., 245 F.R.D. 532, 534 (S.D. Ala.

2007), the Court, in interpreting Rule 15(a), noted that the Rule provides that leave

to amend pleadings “shall be freely given when justice so requires” and further

recognized that:

             The Eleventh Circuit has explained that such leave should
             be “freely given,” as required by the rule, except in the
             presence of countervailing factors such as “undue delay,
             bad faith or dilatory motive on the part of the movant,
             repeated failure to cure deficiencies by amendments
             previously allowed, undue prejudice to the opposing party
             by virtue of allowance of the amendment, futility of
             amendment, etc.” McKinley v. Kaplan, 177 F.3d 1253,
             1258 (11th Cir. 1999) (quoting Foman v. Davis, 371 U.S.
             178, 182, 83 S. Ct. 227, 9 L.Ed.2d 222 (1962)); see also
             Carruthers v. BSA Advertising, Inc., 357 F.3d 1213, 1218
             (11th Cir. 2004) (explaining that despite “freely given”
             language of Rule 15(a), leave to amend may be denied on
             such grounds as undue delay, undue prejudice, and
             futility). Although whether to grant leave to amend
             rests in the district court’s discretion, Rule 15(a)
             “severely restricts” that discretion. Sibley v. Lando, 437
             F.3d 1067, 1073 (11th Cir. 2005). Indeed, denying leave to
             amend is an abuse of discretion in the absence of a
             showing of one or more of the Foman factors.

Bartronics, 245 F.R.D. at 534 (emphasis added); see also, Moore v. Baker, 989 F.2d

1129 (11th Cir. 1993) (the Court noting that “[e]ven with consideration of these

[Foman] factors, however, leave to amend a pleading should be denied only when a

substantial reason exists); Spanish Broadcasting System of Fla., Inc. v. Clear

Channel Communications, Inc., 376 F.3d 1065 (11th Cir. 2004) (the Court noting



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that “leave to amend must be granted absent a specific, significant reason for

denial”).

              9.             In the present case, there is no argument with any true merit that Duluth

is seeking to amend its counterclaim to cause any “undue delay;” that Duluth is

seeking to amend in “bad faith or [with] dilatory motive;” that there has been any

“repeated failure to cure deficiencies by amendments previously allowed;” that the

amendment will cause any “undue prejudice” to Adtrav by the Court’s allowance of

the amendment; or that Duluth’s amended counterclaim evidences any “futility of

amendment.” See Bartronics, 245 F.R.D. at 534.1

              WHEREFORE, Duluth respectfully requests that the Court grant Duluth’s

Motion for Leave to Amend and permit Duluth to file and serve the Amended

Counterclaim (a copy of which is attached hereto as Exhibit “A”).

                                                               Respectfully submitted,


                                                               /s/ D. Michael Sweetnam
                                                               D. MICHAEL SWEETNAM
                                                               KYLE W. BRENT



                                                            
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  Duluth has previously noted to the Court and to Adtrav that it believed that amending the
counterclaim may be necessary based on the newly discovered evidence. See Duluth’s Response
to Adtrav’s Motion for Partial Summary Judgment, p. 16. Duluth’s counsel also discussed the need
for an amendment to Duluth’s counterclaim during the recent June 17, 2016 hearing on Duluth’s
Motion for Sanctions. Further, should the Court grant Duluth’s motion and allow an independent
search of Adtrav’s ESI, Duluth respectfully reserves the right to further amend its Counterclaim
with leave of Court.
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                        CERTIFICATE OF SERVICE

      I hereby certify that I have filed a copy of the foregoing using the Court’s
CM/ECF electronic filing system and have served a copy upon all counsel of record
via EMAIL on this the 23rd day of June, 2015.

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                                     /s/ Jim H. Wilson
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